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              IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


ANTHONY CENG MARTINSON,

      Plaintiff,

V                                            CASE NO. CV422-026


LIBERTY COUNTY JAIL, LIBERTY
CORRECTIONAL MEDICINE, SASCHA
KRUMNOW, MCEEDY, BARNES,
MARTINEZ, WALTHOUR, BARBER,
WILL, WISE, COX, HATFIELD,
SAVOY, REID, JAMES, DABSON,
WILLIAM BOWMAN, DIXON, KILLDO,
CRAFT, HALL, REYNOLDS,
WILLIAMS, ANTHONY LACOOCHI,
LINSON, CORRECTIONS OFFICER,
BREON, ROSE, THE PROVIDER, AND
CORRECTIONS OFFICER,

      Defendants.




                               ORDER


     Before the Court is the Magistrate Judge's April 13, 2022,

Report and Recommendation (Doc. 10), to which no party has filed

objections. Plaintiff has filed several motions and a "notice"

which do not address the Magistrate Judge's recommendation of

dismissal pursuant to 28 U.S.C. § 1915(e)(2)(A). (See Docs. 11,

12, and 13.) After a careful review of the record,^ the report and



1 The Court reviews de novo a magistrate judge's findings to which
a party objects, and the Court reviews for clear error the portions
of a report and recommendation to which a party does not object.
28 U.S.C. § 636(b)(1); see Merchant v. Nationwide Recovery Serv.,
Inc., 440 F. Supp. 3d 1369, 1371 (N.D. Ga. 2020) (citing Macort v.
Prem, Inc., 208 F. App'x 781, 784 (11th Cir. 2006) (per curiam)
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recommendation {Doc. 10) is ADOPTED as the Court's opinion in this

case. Plaintiff's Complaint is DISMISSED WITHOUT PREJUDICE. (Doc.

1.) All pending motions are DISMISSED AS MOOT. (Docs. 8, 9, 11,

and 13.) The Clerk of Court is DIRECTED to close this case.

     SO ORDERED this             day of May 2022.



                                   WILLIAM T. MOO^, JR.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN   DISTRICT OF GEORGIA




(outlining     the    standard      of   review      for   report       and
recommendations)).
